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                             IN THE UNITED STATES DISTRICT COURT

                                                                              »-.J
                          FOR THE EASTERN DISTRICT OF VIRGINIA


                                         Alexandria Division
                                                                           •I                       '
 UNITED STATES OF AMERICA

                                                        Case No. 17-MJ-611           ^
             V.


                                                        Filed Under Seal
 JULIAN PAUL ASSANGE,

         Defendant,


AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT AND ARREST WARRANT

        1.        I, Megan Brown, make this affidavit in support of a criminal complaint charging

the defendant, Julian P. Assange, with violating 18 U.S.C. §371 by conspiring to (1) access a

computer, without authorization and exceeding authorized access, to obtain classified national

defense information in violation of 18 U.S.C. § 1030(a)(1); and (2) access a computer, without

authorization and exceeding authorized access, to obtain information from a department or

agency ofthe United States in furtherance of a criminal act in violation of 18 U.S.C. §

1030(a)(2), (c)(2)(B)(ii).

       2.         I am a Special Agent with the Federal Bureau of Investigation (FBI) and have

been so employed since February 2011. Since joining the FBI, I have investigated violations of

federal law involving counterterrorism and counterintelligence matters, and I have gained

experience through training and everyday work related to conducting these types of

investigations. Since February 2017,1 have been assigned to a Counterespionage squad at the

Washington Field Office in Washington, D.C. In this capacity, I investigate matters involving

allegations of espionage, as well as the unauthorized disclosure of classified information, and

related crimes. As a Special Agent with the FBI, I have received classroom and on-the-job

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training in general law enforcement and also in such specialized areas as counterintelligence,

counterterrorism, and investigation of espionage-related crimes. I have participated in federal,

multi-jurisdictional, and international investigations involving national security matters,

conducted physical and electronic surveillance, executed search warrants, and debriefed

witnesses and participants to unlawful activity related to these matters. Through my

investigations, I have gained knowledge in the use ofvarious investigative techniques including

the utilization of Rule 41 search warrants, subpoenas, national security letters, physical and

electronic surveillance, trash covers, and other sophisticated investigative techniques. As a

federal agent, I am authorized to investigate violations of the laws of the United States. I have

investigated criminal violations relating to espionage and the unauthorized disclosure of

classified information, including violations related to the illegal possession, distribution, and/or

receipt of classified information, and related crimes, in violation of 18 U.S.C. §§ 793, 794, 1030,

and 1924. I also am authorized to execute warrants issued under the authority of the United

States, and I have participated in arrest warrants and search warrants in my capacity as an FBI

Special Agent.

       3.        The facts in this Affidavit are based on my personal observations, information

obtained fi*om other agents and witnesses, my training and experience, and my review of records,

reports, articles, and websites. Unless otherwise noted, information provided to me by other law

enforcement personnel does not necessarily reflect my personal observations or investigation, but

rather has been passed to me by individuals with first-hand knowledge. This Affidavit does not

set forth all ofmy knowledge about this matter, but is intended merely to establish probable

cause for the criminal complaint.
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       4.      As shown below, the conspirators took elaborate measures to conceal their

communications, mask their identities, and destroy any trace of their conduct, using, for

example, encryption and anonymization techniques, and erasing and wiping data. For this

reason, the facts are derived in large part from forensic analysis of available computer data,

remnants, or unalterable systems.

                             SUMMARY OF PROBABLE CAUSE

       5.      These charges relate to one of the largest compromises of classified information

in the history of the United States. Between in or around January 2010 and May 2010, Chelsea

Manning,' an intelligence analyst in the U.S. Army, downloaded four, nearly complete and

largely classified databases with approximately 90,000 Afghanistan war-related significant

activity reports, 400,000 Iraq war-related significant activity reports, 800 Guantanamo Bay

detainee assessments, and 250,000 U.S. State Department cables. Manning provided these

records to WikiLeaks, a website founded and led by the defendant, Julian P. Assange. On its

website, WikiLeaks expressly solicited classified information for public dissemination.

WikiLeaks publicly released the vast majority of the classified records on its website in 2010 and

2011. Manning has since been tried and convicted by court-martial for her illegal acts in

transmitting the information to WikiLeaks.

       6.      The charges in this criminal complaint focus on a specific illegal agreement that

Assange and Manning reached in furtherance of Manning's illegal disclosure of classified

information. As explained below, investigators have recovered Internet "chats" between



' Manning used the name"Bradley E. Manning" at the time of the events at issue in this
Affidavit. According to a statement fi*om Manning's attorney published on or around August 22,
2013, Manning has identified as a female since childhood and was changing her name to
"Chelsea Manning." As a result, I refer to Manning using her current name and the female
gender.
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Assange and Manning from March 2010, The chats reflect that on March 8, 2010, Assange

agreed to assist Manning in cracking a password stored on United States Department of Defense

(DoD) computers connected to the classified Secret Internet Protocol Router Network

(SIPRNet). Manning, who had access to the computers in connection with her duties as an

intelligence analyst, was using the computers to download classified records to transmit to

WikiLeaks.


       7.      Cracking the password would have allowed Manning to log onto the computers

under a usemame that did not belong to her. Such a deceptive measure would have made it more

difficult for investigators to determine the source of the illegal disclosures. While it remains

unknown whether Manning and Assange were successfiil in cracking the password, a follow-up

message from Assange to Manning on March 10, 2010, reflects that Assange was actively trying

to crack the password pursuant to their agreement.

       8.      Circumstantial evidence reflects that Assange and Manning intended to crack the

password to facilitate Manning's illegal disclosure of classified information. At the time they

formed their illegal password-cracking agreement, Manning had already provided WikiLeaks

with hundreds of thousands of classified records relating to, among other things, the wars in

Afghanistan and Iraq. In the recovered chats surrounding the illegal agreement. Manning and

Assange engaged in real-time discussions regarding Manning's transmission of classified records

to Assange. The chats also reflect the two collaborating on the public release of the information

and Assange actively encouraging Manning to provide more information.         The chats, moreover,

reflect that Manning actively took steps to try to conceal herself as the source of the leaks. Thus,

the context of the agreement demonstrates that Assange and Manning intended to crack the
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password to facilitate Manning's disclosure of classified information of the United States.

I.      BACKGROUND OF CO-CONSPIRATORS


     A. Defendant Julian P. Assange and WikiLeaks

        9.      Assange, a citizen of Australia, created the website WikiLeaks.org in 2006 to

release on the Internet otherwise unavailable documents. WikiLeaks' website solicited

submissions of classified, censored, or otherwise restricted information.^

        10.    Although associates and volunteers worked for WikiLeaks in various capacities,

WikiLeaks was closely identified with Assange himself. As reported in an article published in

Wired magazine in or around September 2010, Assange stated, "I am the heart and soul of this

organization, its founder, philosopher, spokesperson, original coder, organizer, financier, and all

the rest." As stated by Assange in a January 2010 interview during the 26th Chaos

Communication Congress, WikiLeaks had a fiill-time staff of five and 800 "occasional helpers."

Assange has also stated that he made the final decision as to whether a particular document

submitted to WikiLeaks was legitimate.

        11.    Assange, who has never possessed a security clearance or need to know, was

prohibited firom receiving classified information of the United States.

     B. Co-Conspirator Chelsea Manning

        12.    Manning, a United States citizen, enlisted in the U.S. Army in October 2007 and

subsequently attended the U.S. Army Intelligence Analyst Course at Fort Huachuca, Arizona.

        13.    On April 7,2008, Manning signed a Classified Information Nondisclosure

Agreement. In doing so. Manning acknowledged being advised that unauthorized disclosure or



^At some pointbetween September and December 2010, WikiLeaks deleted the word
"classified" fi-om a description of the kinds of material it accepted.
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retention or negligent handling of classified information could cause damage or irreparable

injury to the United States or could be used to advantage by a foreign nation.

         14.   On January 22, 2009, Manning was granted a U.S. government security clearance

at the "Top Secret" level and signed a Sensitive Compartmented Information (SCI)

Nondisclosure Statement. In so doing. Manning acknowledged that she would be granted access

to SCI material, which involves or derives from intelligence sources or methods and is classified

or in the process ofbeing classified. She further acknowledged being advised that her

unauthorized disclosure or retention or negligent handling of SCI could cause irreparable injury

to the United States or be used to advantage by a foreign nation, and could constitute a federal

crime.


         15.   Executive Order No. 13526 and its predecessor orders define the classification

levels assigned to national security and national defense information. Under Executive Order

No. 13526, information may be classified as "Confidential" if its unauthorized disclosure

reasonably could be expected to cause damage to the national security; "Secret" if its

unauthorized disclosure reasonably could be expected to cause serious damage to the national

security; and "Top Secret" if its unauthorized disclosure reasonably could be expected to cause

exceptionally grave damage to the national security.

    C. Manning's Access To Classifled Information And Computer Networks In Iraq

         16.   On or about October 12, 2009, Manning was deployed as a Military Occupational

Specialty ("MOS") 35F - Intelligence Analyst, to Forward Operating Base ("FOB") Hammer in

Iraq.

         17.   Manning worked as an intelligence analyst in Iraq from October 2009 to May

2010. During that time, she had access to classified national defense information through
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various U.S. Army and DoD computer network systems, including SIPRNet—a. network used for

classified documents and communications at the Confidential and Secret levels, as designated

according to Executive Order No. 13526.

            18.   Manning had access to multiple classified databases and websites on SIPRNet,

including the following: (1) the Combined Information Data Network Exchange ("CIDNE"), a

set of DoD databases containing classified reports regarding the Afghanistan and Iraq wars,

many of which contained raw intelligence information such as source names and locations; (2) a

U.S. Central Command ("CENTCOM") website, which included reports of investigations of

civilian deaths caused by U.S. forces; (3) an Intellipedia website named "JTF-GTMO Detainee

Assessments," which included documents regarding detainees at the U.S. Naval Base in

Guantanamo Bay, Cuba; (4) Net Centric Diplomacy ("NCD"), a Department of State database

containing classified diplomatic cables; and (5) an Intelink-S search engine, which was a web

portal that provided U.S. intelligence agencies with a single point of service to search for

information across various classified websites on the SIPR network.


        19.       At FOB Hammer, Manning worked in a Sensitive Compartmented Information

Facility ("SCIF"). Under Executive Order No. 13526, Section 4.1, and Army regulations.

Manning was prohibited firom removing classified information firom the SCIF in which she

worked, fi"om storing the information in her residential quarters, and firom loading the

information onto a personal computer. Further, the act of removing classified media firom a

SCIF and hand carrying that information was permitted only when approved by the appropriate

official.


        20.       In the SCIF, Manning had access to several SIPRNet computers, two of which she

principally used at different times. In this affidavit, I refer to these two computers as "IPl" and
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"IP2."


         21.    Manning's use ofthe computers was also governed by the AR-25-2. The AR-25-

2 is an Army regulation that establishes the standards, processes, and procedures for information

assurance practices in the United States Army. It applies to everyone within the Army.

         22.    In March 2010, the AR-25-2 prohibited certain "activities ... by any authorized

user on a Government provided [information system] or connection." These prohibited activities

included "[a]ttempt[ing] to ... circumvent, or bypass network [information systems] security

mechanisms." The AR-25-2 also prohibited "[s]haring personal accounts and authenticators

(passwords or PINs)."

II.      MANNING'S EARLY DISCLOSURES TO WIKILEAKS


         23.    According to Manning, she began helping WikiLeaks soon after WikiLeaks

publicly released messages from the September 11, 2001 terrorist attacks on November 25, 2009.

         24.    As the examples in the following two sections demonstrate, Manning transmitted

a large amount of classified information to WikiLeaks prior to March 2010, which was when she

formed the agreement with Assange that is the subject of this complaint.

      A. Classified Significant Activity Reports Relating To Iraq And Afghanistan Wars

         25.    During her court-martial proceedings. Manning has admitted that, prior to March

2010, she provided WikiLeaks with classified significant activity reports from the Iraq and

Afghanistan wars ("Iraq War Reports" and "Afghanistan War Reports," respectively).

         26.    According to Manning, she downloaded the Iraq War Reports and Afghanistan

War Reports from the relevant CIDNE databases in late December 2009 and early January 2010,

and initially saved the records on a CD-RW that she kept in her SCIF. Manning admitted that

she later took the CD-RW out of the SCIF and copied the data from the CD-RW onto her



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personal laptop. Manning stated that she transferred the data from her laptop to a Secure Digital

("SD") memory card, which she took with her when she went on leave later in January 2010.

       27.     Investigators later recovered the SD card that Manning used to transport the Iraq

War Reports and Afghanistan War Reports. Forensic analysis of the SD card revealed that it

contained the CIDNE databases for Iraq (391,883 records) and Afghanistan (91,911 records).

The SD card also contained a README.txt file, which contained the following message:

               Items of Historical Significance for Two Wars: Iraq and
               Afghanistan Significant Activities (SIGACTs) between 0000 on 01
               JAN 2004 and 2359 on 31 DEC 2009 (Iraq local time, and
               Afghanistan local time) CSV extracts are from the Department of
               Defense (DoD) Combined Information and Data Exchange
               (CIDNE) Database. It's already been sanitized of any source
               identifying information. You might need to sit on this information,
               perhaps 90-180 days, to figure out how best to release such a large
               amount of data, and to protect source. This is possibly one of the
               more significant documents of our time, removing the fog of war,
               and revealing the true nature of 21st century asymmetric warfare.
               Have a good day.

       28.     According to Manning, she uploaded the Iraq War Reports, Afghanistan War

Reports, and README.txt file to the WikiLeaks website on or around February 3, 2010.

       29.     WikiLeaks publicly released the Iraq War Reports and Afghanistan War Reports

on its website later in 2010. In July 2010, WikiLeaks released approximately 76,000 of the

Afghanistan War Reports. Then, in October 2010, WikiLeaks released approximately 391,832

Iraq War Reports.

       30.     Manning and WikiLeaks had reason to believe that public disclosure of the

Afghanistan War Reports and Iraq War Reports would cause injury to the United States.

Documents included in the Afghanistan War Reports contained information the disclosure of

which potentially endangered U.S. troops and Afghan civilians, and aided enemies of the United

States. Numerous Secret reports, for example, related to the identity and significance of local
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supporters of United States and Coalition forces in Iraq and Afghanistan.

       31.     In fact, according to a July 30, 2010 New York Times article entitled "Taliban

Study WikiLeaks to Hunt Informants," after the release ofthe Afghanistan War Reports, a

member of the Taliban contacted the New York Times and stated, "We are studying the report.

We knew about the spies and people who collaborate with U.S. forces. We will investigate

through our own secret service whether the people mentioned are really spies working for the

U.S. If they are U.S. spies, then we will know how to punish them."

       32.     Moreover, on May 2, 2011, United States government officials raided the

compound of Usama bin Laden in Abbottabad, Pakistan. During the raid, they collected a

number of items of digital media, which included, among other things, (1) a letter firom bin

Laden to another member of the terrorist organization al-Qaeda in which bin Laden requested

that the member gather the DoD material posted to WikiLeaks, and (2) a letter from that member

of al-Qaeda to Bin Laden with information from the Afghanistan War Reports released by

WikiLeaks.


       33.     In addition, some of the Afghanistan War Reports included detailed reports of

improvised explosive device ("lED") attacks on United States and Coalition forces in

Afghanistan. The enemy could use these reports to plan future lED attacks because they

described lED techniques, devices, and explosives, and revealed the countermeasures used by

United States and Coalition forces against lED attacks and potential limitations to those

countermeasures,


       34.     I have reviewed a number of the Afghanistan War Reports and Iraq War Reports

that WikiLeaks released. The reports that I reviewed contained classification markings reflecting

that they were classified as "SECRET." This suggests that the versions of the Afghanistan War



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Reports and Iraq War Reports that Manning transmitted to WikiLeaks clearly reflected that they

were classified.


    B. Classified Iceland Documents


       35.     As a further example, Manning also provided WikiLeaks with a number of

classified documents relating to Iceland prior to March 2010.

       36.     According to Manning, she accessed the NCD portal on February 14, 2010, and

found a cable entitled "10 Reykjavik 13," which addressed an Icelandic issue known as

"Icesave." Manning admitted that she burned the information onto a CD-RW on February 15,

2010, took it to her personal housing unit, saved the document to her personal laptop, and then

uploaded it to WikiLeaks.

       37.     WikiLeaks released this "Icesave" cable on its website on or around February 18,

2010. I have reviewed the document that WikiLeaks released on its website. It contained clear


markings reflecting it was classified as "Confidential," That suggests that the version of the

Icesave cable that Manning transmitted to WikiLeaks clearly reflected that it was classified.

       38.     In addition, on February 14,2010, Manning, using IPl identified to her, viewed

the Intellipedia website for Iceland. From this website. Manning clicked on links to, and viewed,

three files entitled "Sigurdardottir.pdf," "Skarphedinsson.pdf," and "Jonsson.pdf" A forensic

examination of Manning's personal laptop computer showed that a storage device was inserted

into her machine. The volume name of the CD—"100215_0621"—vindicated that the CD was

burned on February 15, 2010, at 6:21 a.m. The file names "Jonsson.pdf," "Sigurdardottir.pdf,"

and "Skarphedinsson.pdf' were burned to the CD.

       39.     On March 29, 2010, WikiLeaks posted on its website classified U.S. State

Department biographies of three Icelandic officials: Icelandic Prime Minister Johanna



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Sigurdardottir; Icelandic Minister of Foreign Affairs and External Trade Ossur Skarphedinsson;

and Icelandic Ambassador to the United States Albert Jonsson. I have reviewed the three

biographies released by WikiLeaks. They contained clear markings indicating that they were

classified as "Confidential."


       40.     Thus, as the examples in these two sections demonstrate. Manning provided

hundreds of thousands of classified documents to WikiLeaks prior to March 2010. WikiLeaks

received and published the classified documents, despite their clear markings indicating that they

were classified.


III.   MANNING'S CHATS WITH ASSANGE


       41.         A person assigned a name with initials '"NF" held a series of online chat

conversations with Manning in which the pair discussed providing classified documents to

WikiLeaks and the protection of Manning's identity as a source of the documents. According to

the dates on the chats, they occurred between March 5, 2010, and March 18,2010. During the

chat conversations, Manning used the alias "Nobody" and the account

"dawgnetwork@jabber.ccc.de," while NF used the account "pressassociation@jabber.ccc.de."

       42.     Those chats took place on the "Jabber" chat server. Jabber is used for real-time

instant messaging. Manning and NF used a Jabber chat service hosted on jabber.ccc.de. "CCC"

is a commonly used acronym for the Berlin-based Chaos Computer Club, which according to

accounts on the Internet, Assange had firequented.

       43.     At her court-martial proceedings. Manning stated that she "engaged in

conversation often" with NF, "sometimes as long as an hour or more." Forensic analysis showed

that Manning deleted or removed the NF chat logs fi"om her laptop. Nevertheless, investigators

have been able to recover several portions of the chats between Manning and NF from



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Manning's personal computer.

       44.     A complete copy of the recovered chats between Manning and NF is attached to

this Affidavit as Attachment A.


    A. Assange Was "NF"

       45.     At her court-martial proceeding, Manning claimed that she believed the individual

with whom she was chatting "was likely Mr. Julian Assange, Mr. Daniel Schmidt, or a proxy

representative of Mr. Assange and Schmidt."

       46.     As summarized below, however, the evidence demonstrates that Assange was the

"NF" who communicated with Manning in the March 2010 chats.

       47.     Specific information provided by NF in the March 2010 chats indicates that NF

was Assange. For example, when chatting with Maiming on March 5, 2010, NF confided that he

liked debates, and that he "[j]ust finished one on the IMMI, and crushed some wretch firom the

journalists union." NF told Manning that the debate was "[v]ery satisfying," and that "the

husband of the wretch" had exposed a source, an IT consultant who had given NF "10Gb of

banking documents."

       48.     "IMMI" refers to the Icelandic Modem Media Initiative, a legislative proposal of

considerable public interest in Iceland at the time. According to accounts available on the

Internet, on March 5,2010, before NF's chat with Manning about a debate, the University of

Iceland presented a panel that discussed media topics, including the IMMI. Assange was a

member of that panel, as was the female deputy president of the Icelandic journalists association.

       49.     Moreover, the NF in the March 2010 chats with Manning appeared to have

extensive knowledge of WikiLeaks' day-to-day operations, including knowledge of submissions

of information to the organization, as well as of financial matters. During the chats, on March 8,



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2010, and March 16, 2010, Manning asked NF about the financial state of WikiLeaks. On both

occasions, NF responded by identifying financial difficulties that WikiLeaks had to overcome,

such as losing its credit card vendor. NF also stated that WikiLeaks had raised half a million of

an unspecified currency. NF thus demonstrated intimate familiarity with WikiLeaks' financial

affairs and circumstances, which Assange would have.

       50.     Further, the NF in the chats with Manning mentioned that he planned to attend a

conference on investigative joumalism in Norway in late March 2010. On March 17,2010, NF

told Manning that NF would "be doing an investigative joumo conf in norway this week end, so

may be out of contact most of the time." In fact, on March 18, 2010, according to an article on

the Internet authored by Assange, Assange traveled from Iceland eventually to Oslo, Norway,

where he attended and spoke at a March 20 conference held by SKUP, an investigative-

journalism organization. According to accounts on the Internet, Assange's name appeared on a

list of individuals scheduled to attend the conference, and Assange was identified as a "lecturer."

A review of the other names on the list revealed no other persons known to be associated with

WikiLeaks, and no one named NF. Further, SKUP's website had a photo ofAssange speaking at

the conference.


       51.     In addition, NF repeatedly discussed with Manning details about a video being

prepared for release, which NF referred to as "Project B." As reported in the New Yorker on

June 7,2010, "Project B" was the code name Assange and WikiLeaks used for the video about

the 2007 Apache helicopter attack, later released under the name "Collateral Murder."

       52.     Also, on June 27, 2011, the FBI interviewed U.S. Person No. 1 (USl), who met

Assange in December 2009 in Berlin, Germany. According to USl, Assange and USl

exchanged email addresses at this time and began communicating via email. Eventually,



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Assange and USl began using the Jabber instant messaging service to communicate. According

to USl, Assange used the Jabber accountpressassociation@jabber.ccc.de to communicate with

USl via Jabber. Assange used pressassociation@jabber.ccc.de until the summer of 2010 to

communicate with USl. As noted, pressassociation@jabber.ccc.de was the Jabber account used

by NF in the chats with Manning.

       53.     The evidence further reflects that Manning believed NF was Assange. In chats

with U.S. Person No. 2 (US2) on May 23, 2010, Manning stated that Assange "*might*" have

used the "ccc.de jabber server," the same server used in the chats between NF and Manning.

And on May 22,2010, Manning told US2 that she had communicated with Assange when

explaining that she was a source for WikiLeaks. Manning stated, "im a high profile source... and

i've developed a relationship with assange... but i don't know much more than what he tells me,

which is very little, it took me four months to confirm that the person i was communicating was

in fact assange."

       54.     Furthermore, a forensic examination of Manning's personal computer seized on

May 28, 2010, revealed that pressassociation@jabber.ccc.de was associated with Assange in

Manning's "Buddy List" configuration file (blist.xml), and that deleted versions of Manning's

blist.xml file identified pressassociation@jabber.ccc.de as an alias for NF. The file had a

creation date and last vmtten date of May 28, 2010.

       55.     Based on this evidence, I have concluded that Manning's partner in the chats,

assigned the usemame "NF," was in fact Assange. Accordingly, in the following discussion of

the March 2010 chats, I identify Assange as the person with whom Manning communicated.

   B. Nature of the Assange-Manning Chats

       56.     As the below examples illustrate, the recovered chats between Manning and



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Assange reflect that the two collaborated on Manning's disclosure of classified information to

WikiLeaks for WikiLeaks to disseminate publicly.

              1. JTF-GTMO Documents


        57.     At her court-martial proceeding, Manning admitted that she provided WikiLeaks

with Joint Task Force Guantanamo ("JTF-GTMO") Detainee Assessment Briefs ("DABs") in

early March 2010.

        58.     In fact, Attachment A reflects discussions between Manning and Assange about

the value of these documents and Manning's transmission of them to Assange.

       59.      On March 7, 2010, Manning asked Assange, "how valuable are JTF GTMO

detention memos containing summaries, background info, capture info, etc?" Assange replied,

"time period?" Manning answered, "2002-2008." Assange responded, "quite valuable to the

lav^^ers of these guys who are trying to get them out, where those memos suggest their

innocence/bad procedure...also valuable to merge into the general history, politically gitmo is

mostly over though."

       60.      Manning has admitted that "[a]fter this discussion, [she] decided to download the

DABs."


       61.      On March 8, 2010, Manning told Assange, "im sending one last archive of

interesting stuff... should be in the x folder at some point in the next 24 hours." Assange replied,

"ok. great!" Manning added, "you'll need to figure out what to do with it all..."

       62.      Later that day. Manning wrote to Assange, "anyway, im throwing everything i

got on JTF GTMO at you now... should take awhile to get up tho...summary/history/health

conditions/reasons for retaining or transfer of nearly every detainee (about 95%)." Assange

replied, "ok, great! what period does it cover for each internment?" Manning replied "2002-



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2009.Assange inquired if the information included "initial medical evaluation to exit

evaluation?"


        63.    Also on March 8, 2010, Manning updated Assange about the ongoing upload,

stating that the "upload is at about 36%." Assange asked for an "ETA," to which Manning

responded "11-12 hours... guessing since its been going for 6 already." Assange asked, "how

many mb?" Manning replied "about 440mb" and "a lot of scanned pdf[']s."

       64.     Two days later, on March 10,2010, Assange reported to Manning, "there[']s a

usemame in the gitmo docs" and asked "i assume i should filter it out?" Manning stated that

"any usemames should probably be filtered, period." Manning then recognized, "but at the same

time, theres a gazillion of them."

       65.     Later in the chat on March 10, 2010, Manning asked, "anything useful in there?"

Assange replied "no time, but have someone on it." Assange then followed up that "there surely

will be" and that "these sorts of things are always motivating to other sources too." Assange

noted that such disclosures provided "inspiration" for other leakers because "gitmo=bad,

leakers=enemy of gitmo, leakers=good."

       66.     WikiLeaks ultimately released the JTF-GTMO DABs starting in April 2011. By

August 2011, it had released 765 JTF-GTMO DABs.

       67.     As General Robert Carr testified during Manning's court martial, the release of

the DABs caused problems for the United States' efforts to move detainees out of Guantanamo

Bay to other countries. According to General Carr, at the time of the release ofthe DABs, the

Department of State was negotiating with foreign governments regarding the transfer of the

detainees. The release of the classified DABs threatened to conflict with those negotiations.

       68.     I have reviewed a number of the JTF-GTMO DABs that WikiLeaks released.




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They contained clear markings indicating that they were classified as "SECRET."

              2. Assange Encourages Manning To Continue Searching For Documents

        69.      The March 2010 chats also reveal that Assange provided Manning with

encouragement to provide more information.

        70.      On March 8,2010, when discussing the JTF GTMO upload. Manning told

Assange, "after this upload, thats all i really have got left." Assange replied, "curious eyes never

run dry in my experience."

        71.      hi response, Manning stated, "ive already exposed quite a bit, just no-one knows

yet. ill slip into darkness for a few years, let the heat die down." Manning added, "considering

just how much one source has given you, i can only imagine the overl[o]ad."

        72.      Earlier in the same day, Assange noted that there had been "2500 articles in .is

referendum in the past 15 hours, despite it being a Sunday." (The domain name for Iceland is

".is.") Manning stated, "oh yeah.. .osc went haywire digging into .is." (Based on the context, in

using the term "osc," Manning likely was referring to the CIA's open source center.) Assange

responded, "yeah? that[']s something we want to mine entirely, btw."

              3. Manning And Assange Discuss Concealing Source Of Documents

        73.      During his chats with Manning, Assange asked whether documents sent by

Manning about an arrest by Iraqi police were "releasable." Manning advised Assange that

certain documents could be released, but that an original incident report could not be, and that a

translation of a report was "super not releasable." Assange asked that Manning "be sure to tell

me these things as soon as possible," and "better yet in the submission itself," since Assange was

"not the only one to process this stuff and also will forget details if publication is delayed a long

time due to the flood of other things." After Manning asked if Assange was "gonna give release



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a shot?," Assange opined that a lack of detail in the releasablematerial "may be problematic,"

Manning suggested that WikiLeaks could refer to a hotel located near where the arrest occurred;

she "figured it would make it look more like a journalist acquired it... ifthe hotel was

mentioned." Manning also advised Assangethat she was "all over the place ... clearing logs,"

and that she was "not logging at all... safe .... i just wanted to be certain."

          74.      Thus, in the quoted communications Manning and Assange discussed the form in

which WikiLeaks could disclose the information about the arrest by Iraqi police, and the

suppression ofparticular material that if released might reveal Manning's identity as the source.

          75.      In addition. Manning assured Assange that by "clearing logs" she was taking the

proper steps to prevent discovery, by leaving no trace on her computer of their communications.

                4. Assange's Knowledge That Manning Was In The U.S. Armed Forces In Iraq
                                                          *




          76.      The March 2010 chats between Manning and Assange included military jargon

and references to current events in Iraq suggesting that Assange knew Manning was an American

service member in Iraq.

          77.      For example, on March 6, 2010, Assange asked Manning, "it looks like a MiTT

report?" MiTT is a military acronym for Military Transition Team, a team that trains local Iraqi

troops.

          78.      On March 18, 2010, Manning used the military term "MI" (for Military

Intelligence) in a chat with Assange. Later that day, Assange wrote to Manning, "but

remember...rules are just for the grunts..." in response to a discussion about the breaking of rules

by an Army Lieutenant Colonel and senior officers. "Grunts" is military slang for enlisted

military personnel in general and is often specifically used for infantrymen.

          79.      Further, Manning made several references to specific events and places in Iraq



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(including the Tigris River) that indicated Manning was then in Iraq.

IV.      MANNING AND ASSANGE'S AGREEMENT TO CRACK A COMPUTER
         PASSWORD TO ACCESS CLASSIFIED NATIONAL SECURITY
         INFORMATION


         80.   As described below, during their March 2010 chats. Manning and Assange

reached an agreement for Assange to assist Manning in cracking a password related to two

computers with access to classified national security information. I understand the following

through my review of the testimony of a forensic examiner in Manning's court martial, my

conversations with FBI forensic examiners, and research on the Internet.

      A. Background On Password Hashes

         81.   A computer using a Microsoft Windows operating system does not store users'

passwords in plain text for security reasons. Instead, the computer stores passwords as "hash

values." When a user creates a password for the relevant usemame, the password passes through

a mathematical algorithm, which creates a "hash value" for the password. Essentially, the

creation of the hash value is a form of encryption for storing the password. The hash value—^not

the plain text of the password—^is then stored on the computer.

        82.    As additional security, the computer does not store the full hash value in one

location. Instead, the hash value for that usemame is broken into two parts. One part is stored in

the Security Accounts Manager (SAM) database as the SAM registry file. The SAM file in a

Windows operating system keeps usemames and parts of the hash value associated with the

usemame. The other part of the hash is stored in the "system file." To obtain the fiill hash value

associated with the password, one needs the parts fi"om the SAM file and the system file.

        83.    Finally, as further security, Windows locks the SAM file and system file. Only

users with administrative level privileges can access the files.



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       84.      However, even if a user does not have administrative level privileges, the user

might be able to access the system file or the SAM file by using special software, such as a

Linux operating system. A person, for example, can reboot a computer using a CD with the

Linux operating system and view the contents of the SAM file or system file.

       85.      The evidence suggests that Manning did just that. Forensic analysis of Manning's

personal laptop computer reflects that she burned the Linux operating system to a CD on or

around March 2, 2010. Through forensic analysis, investigators have further determined that

Manning therefore could have viewed the SAM file ofboth IPl and IP2—^the SIPRNet

computers that Maiming primarily used—^by rebooting them with the Linux operating system

that she downloaded.


   B. Agreement To Crack Password

       86.      On March 8, 2010, at approximately 3:55 p.m., Manning asked Assange whether

he was "any good at Im hash cracking."

             a. At the time, Windows operating systems commonly used two methods for

                hashing and storing passwords, Lan Manager (LM) and New Technology Lan

                Manager (NTLM). Referring to an LM hash or an NTLM hash is tantamount to

                sajdng, "Windows password." Thus, in the above-described message, Manning

                asked Assange if he was able to crack passwords for computers running Windows

                operating systems.

       87.      In response to Marming's question, Assange answered, "yes." Assange then

stated, "we have rainbow tables for Im." A "rainbow table" is a tool used to crack a hash value

to determine the password associated with it.

       88.      After Assange claimed to have rainbow tables. Manning stated



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                                     |lc." Manning then stated, "i think its Im + Imnt."
             a. Manning Hkely meant to say "Im + ntlm." The hexadecimal string of text is

                consistent with the format of an LM or NTLM hash. Further, on Windows

                operating system version Vista or newer, LM is disabled, and only NTLM is used.

                Manning's remark that she "thought" that the hash was "Im + Imnt" suggests that

                she retrieved it from a computer running a pre-Vista version of Windows.

       89.      A few minutes later, Manning further explained, "not even sure if thats the

hash....i had to hexdump a SAM file, since i don't have the system file." Assange asked, "what

makes youthink [it's] Im?"^ Assange asked, "its from a SAM?" Manning answered "yeah."

Assange then stated that he "passed it onto our Im guy."

             a. hi the above-described chats Manning informed Assange that she had accessed

                the SAM file with a program and had identified this particular 16-byte

                hexadecimal value as a potential LM or NTLM password hash.

             b. By saying she retrieved the password hash through a "hexdump," Manning likely

                meant that she used a sofl;ware program to view the SAM file in "hexadecimal

                format," in which raw computer data can be viewed.

       90.      Two days later, at approximately 11:30 p.m. on March 10, 2010, Assange

followed up on the issue. Assange messagedManning and asked, "any more hints about this Im

hash?" Assange stated, "no luck so far."

       91.      Investigators have not recovered a response by Manning to Assange's question,

and there is no other evidence as to what Assange did, if anything, with respect to the password.




^The numbers provided by Manningwere part of, but not the full, hash. Manning would have
needed the part of the hash from the system file as well to obtain the fiill value.
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The next chats that investigators were able to recover were dated March 16,2010. Thus, there is

approximately a six-day gap in the chats after Assange asked for further hints on the hash.

          92.   Nevertheless, the recovered chats described above reflect an agreement between

Manning and Assange to crack the hash.

     C. Password Belonged To A SIPRNet Computer

          93.   Forensic investigators have determined that the hash that Assange agreed to help

Manning crack came from IPl and IP2.

          94.   Using an image of Manning's SIPRNet computer hard drives, the forensic

investigator booted it with the same Linux operating system that Manning burned to a CD on her

personal computer.

          95.   The forensic investigator then navigated to the SAM file on the computers. Using

a hex editor, the investigator was able to view and obtain the precise hash value that Manning

forwarded to Assange.

          96.   The hash value that Manning forwarded to Assange was associated with the

password for an "FTP" user on IPl and IP2. The FTP user was not attributable to any specific

person.


          97.   Although there is no evidence that the password to the FTP user was obtained,

had Manning done so, she would have been able to take steps to procure classified information

under a usemame that did not belong to her. Such measures would have fhistrated attempts to

identify the source of the disclosures to WikiLeaks.

V.        ASSANGE FLEES FROM JUSTICE

          98.   On May 27, 2010, based on information provided by US2, Army investigators in

Iraq took Manning into military custody at FOB Hammer. Manning was subsequentlycharged


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with a variety of criminal offensesin a mihtary court-martial related to her disclosures to

WikiLeaks, including charges alleging unlawful transmission of national defense information, in

violation of 18 U.S.C. § 793(e), theft of government information, in violation of 18 U.S.C. § 641,

and unlawful access to a government computer, in violation of 18 U.S.C. § 1030(a)(1).

       99.     On July 30, 2013, Manning was convicted of most ofthese charges, including

unlawftil gathering or transmission of national defense information, computer intrusion, and theft

of government property. Manningwas acquitted of aiding the enemy and of one count of 18

U.S.C. § 793(e). Manningwas sentenced to 35 years' imprisonment in August 2013.

       100.    Meanwhile, beginning as early as November 2010 and as late as April 2017,

media outlets reported that the Departmentof Justice was investigating charges against

WikiLeaks or Assange in connection with the disclosures by Manning.

       101.    On November 20, 2010, in connection with unrelated charges in Sweden, an

international arrest warrant was issued against Assange. Following litigation between December

2010 and May 2012, the United Kingdom (U.K.) Supreme Court determinedthat Sweden's

extradition request had been lawfully made, and the U.K. had ten days to take Assange to

Sweden. Instead of appealingto the European Court of Human Rights, in June 2012, Assange

fled to the Ecuadorian embassy in London. Ecuador formally granted Assange diplomatic

asylum on August 16, 2012, "citinghis well-founded fears of political persecution and the

possibility of the deathpenaltywerehe sent to the United States." Specifically, Assange feared

that "ifhe were to be sent to USA, he might be prosecuted and perhaps be executed by a military

court in regard to his involvement in the release of stolen and leaked American documents on its

crimes in Afghanistan and Iraq." See

http://www.aalco.int/Ruling%20of%20UNWGAD%20on%20Julian%20Assange.pdf.


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        102.   Assange has made numerous comments reflecting that he took refuge in the

Ecuadorian embassy to avoid extradition and charges in the United States.

        103.   For example, in 2013, the WikiLeaks website posted an affidavit by Assange

concerning alleged monitoring of his activities and the search and seizure of his property. In this

affidavit, Assange acknowledged that he was "granted asylum after a formal assessment by the

government of Ecuador in relation to the current and future risks of persecution and cruel,

inhuman and degrading treatment in the United States in response to my publishing activities and

my political opinions. I remain under the protection of the embassy of Ecuador in London for

this reason." See https://wikileaks.org/IMG/html/Affidavit_of_Julian_Assange.htmL

        104.   On May 19, 2017, in response to Sweden's decision to discontinue its

investigation regarding suspected rape by Julian Assange, Assange publicly stated, "While today

was an important victory and an important vindication ... the road is far fi*om over        The

war, the proper war, is just commencing. The UK has said it will arrest me regardless. Now the

United States, CIA Director Pompeo, and the U.S. Attorney General have said that I and other

WikiLeaks staff have no rights ... we have no first amendment rights.. .and my arrest and the

arrest of our other staff is a priority.... The U.K. refuses to confirm or deny at this stage

whether a U.S. extradition warrant is already in the U.K. territory. So, this is a dialogue that we

want to happen. Similarly, with the United States, while there have been extremely threatening

remarks made, I am always happy to engage in a dialogue with the Department of Justice about

what has occurred." https://www.bloomberg.eom/news/articles/2017-05-19/swedish-

prosecutors-to-drop-rape-investigation-against-assange.




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                                          CONCLUSION


        105.   The evidence summarized in this Affidavit establishes probable cause to believe

that the defendant, Julian P. Assange, committed the offense alleged in the complaint; namely,

Assange violated 18 U.S.C. § 371 by conspiring to (1) access a computer, without authorization

and exceeding authorized access, to obtain classified national defense information in violation of

18 U.S.C. § 1030(a)(1); and (2) access a computer, without authorization and exceeding

authorized access, to obtain information from a department or agency of the United States in

furtherance of a criminal act in violation of 18 U.S.C. § 1030(a)(2), (c)(2)(B)(ii).



                                                      Respectfully submitted,



                                                          ml Agent Megan Brown
                                                      Fed ral Bureau of Investigation


       Subscribed and sworn before me thi^^ day ofDecember 2017
                                   fsl
               „...fesa Carroll Buchanan
                United States Magistrate Judge
       United States Magistrate Judge
       Alexandria, Virginia




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              Attachment A
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Sender Account                   Sender Alias      Date-Time              Message Text
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-05 00:56:32 5-6 iiours for total upload?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-05 03:32:57 uploaded
dawgnetwork@jabber.ccc.de        Nobody             2010-03-05 03:33:31 no, it was like 5 minutes
dawgnetwork@jabber.ccc.de        Nobody             2010-03-05 03:36:21 ping
dawgnetwork@jabber.ccc.de        Nobody             2010-03-05 03:37:36 ping
dawgnetwork@jabber.ccc.de        Nobody             2010-03-05 03:38:54 anyway... should be good to go with that...
dawgnetwork@jabber.ccc.de        Nobody             2010-03-05 05:39:50 news?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-05 05:41:22
dawgnetwork@jabber.ccc.de        Nobody             2010-03-05 21:07:12 hi
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-05 21:07:49 hiya
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-05 21:08:15 1 like debates.
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-05 21:09:27 Just finished one on the IMMI, and crushed some
                                                                          wretch from the journalists union.
dawgnetwork@jabber.ccc.de        Nobody             2010-03-05 21:11:01 vid?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-05 21:11:24 Of this?
dawgnetwork@Jabber.ccc.de        Nobody             2010-03-05 21:11:37 yeah
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-05 21:11:56 Not videotaped, i think.
dawgnetworl<@jabber.ccc.de       Nobody             2010-03-05 21:12:04 ah
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-05 21:12:24 Very satisfying though
dawgnetwork@jabber.ccc.de        Nobody             2010-03-05 21:12:38 &gt;nod&lt;
pressassociatlon@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-05 21:12:44 Source here just gave me 10Gb of banking docs.
dawgnetwork@jabber.ccc.de        Nobody             2010-03-05 21:13:10 lb?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-05 21:13:11   IHeleaked some before, was exposed by the husband
                                                                          of the wretch.
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-05 21:13:27 cross-bank, was an it consultant.
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-05 21:13:39 got arrested two weeks ago
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-05 21:13:50 Had is bank accounts frozen.
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-05 21:14:02 and has been offered 15 million kroner to shut up
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-05 21:14:09 /is/his
dawgnetwork@jabber.ccc.de        Nobody             2010-03-05 21:14:26 mmm
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-05 21:15:04 needed to offload them so they&apos;d stop going
                                                                          after him
dawgnetwork@jabber.ccc.de        Nobody             2010-03-05 21:17:31 &gt;yawn&lt;
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-05 21:19:26 tired?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-05 21:20:54 waking up =)
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-05 22:53:22 ping
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-05 23:41:17 ping
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 00:31:55 here
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 00:32:52 pong
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 00:39:19 ...and zero reply status =P
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 06:40:54 ping
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 06:41:22 ping
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 06:41:27 pong
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 06:41:34 can you tell me more about these files?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 06:41:41 or the status of the issue?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 06:41:58 uhmm... no new information... everybody is focused
                                                                          on the election
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 06:42:07 what&apos;s the caps thing?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 06:42:15 caps?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 06:42:22 CAPS
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 06:42:38 who&apos;s the author?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 06:42:39 and are all these releasable?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 06:42:42 so much going on... ahhhh
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 06:42:46 what about the english translation?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 06:42:55 yes
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 06:42:55 everything is notes
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 06:43:02 minus the photos
dawgnetworl<@jabber.ccc.de       Nobody             2010-03-06 06:43:13 the photos are releasable
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 06:43:29 ok, what about the incident report?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 06:43:52 cant release the original, but the information can be
                                                                          scraped from it
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 06:44:08 i.e. sources indicate this happened at this place at
                                                                          this time
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 06:44:17 yup
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 06:44:38 it looks like a MiTT report?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 06:44:39 translation is super not releasable
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Sender Account                   Sender Alias      Date-Time              Message Text
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 06:45:01 ok. be sure to tell me these things as soon as
                                                                          possible
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 06:45:03 yes, came from federal police into US hands
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 06:45:07 and better yet in the submission itself
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 06:45:12 yes, sorry
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 06:45:59 i&apos;m not the only one to process this stuff and
                                                                        also will forget details if publication is delayed a long
                                                                        time due to the flood of other things
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 06:46:02 though... who knows... everybody is running around
                                                                          like headless chickens
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 06:46:28 malaki is expected to win again though?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 06:46:33 basically
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 06:46:39 lose a few seats maybe
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 06:46:42 but win overall
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 06:46:56 probably have to form a new coalition
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 06:48:47 blah, sorry about the craziness... gonna give release
                                                                          a shot?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 06:58:20 yes
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 06:58:37 cool
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 06:58:40 lack of detail may be problematic, but we&apos;[l see


pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 06:59:09 i.e &quot:easier&quot: stories for press to get
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 06:59:10 im sure you can try to confirm SOMETHING... there is
                                                                          a hotel called the Hotel Ishtar nearby to that location

pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 06:59:36 does it have grid refs?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 06:59:46 grid references within the document, yes
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:00:01 that was were the arrests took place
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:00:11   morocco publishing company
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:00:24 gives coordinates (in the military report)
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:01:19 i figured it would make it look more like a journalist
                                                                          acquired it... if the hotel was mentioned
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:01:55 [popular among gays, oddly]
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:02:38 <div><a href=http;//travel.yahoo.com/p-hotel-2514619
                                                                          hoteljshtar-i" style="background-color: #ffffff:font-
                                                                          family: Helvetica; font-size:
                                                                          12pt;">http://travel.yahoo.com/p-hotel-2514619-
                                                                          hotel_ishtar-i</a></div></message>
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 07:02:42 haha
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 07:03:19 l&apos;m surprised there are any left.
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:03:25 foreign
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:03:27 that is
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 07:03:33 full transcript for video is now complete
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 07:03:43 evil work
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:03:43 Iraq themed releases?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:04:08 yes, the transcripts say a lot about attitudes
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:05:30 might also be known as Sheraton Ishtar
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:05:41 <div><a
                                                                          href=http://en.wikipedia.org/wiki/SheratonJshtar"
                                                                          style-"background-color: #ffffff;font-family: Helvetica;
                                                                          font-size:
                                                                        12pt:">http://en.wikipedia.org/wiki/SheratonJshtar</a
                                                                        ></div></message>
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:06:13 its somewhere in that general area... &quot:Morocco
                                                                        Publishing&quot;... its been too crazy for me to try
                                                                          and find
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:07:14 anyway, gotta dash... should be back in a few hours


dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:07:21 good luck
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 07:07:34 you too
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 07:07:49 um, transcripts?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 07:07:53 ah, yes, sorry.
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:08:11 its a HUGE jumble xD
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:08:12 =P
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 07:08:17 plural confused me.
dawqnetwork@jabber.ccc.de        Nobody             2010-03-06 07:08:25 muh bad
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Sender Account                   Sender Alias      Date-Time              Message Text
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:08:34 gotta go fo&apos; realz =P
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:08:37 ciaoness
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:10:28 oh, it was on the EAST side of the tigris... thats
                                                                          important
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:11:01 the arrest location
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:11:03 that is
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-06 07:11:36 why important?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:11:46 1 think hotel Is on the west side
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:12:21 ah, im all over the place... clearing logs...
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:12:43 not logging at all... safe
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 07:12:50 i just wanted to be certain
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 09:25:55 any more questions?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 10:59:53 i have a quick question
dawgnetwork@jabber.ccc.de        Nobody             2010-03-06 12:48:15 busy day for you ?
dawg network@jabber. ccc.de      Nobody             2010-03-06 14:37:11 ping
dawgnetwork@jabber.ccc.de        Nobody             2010-03-07 07:03:53 ping
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-07 07:08:29 brb, checking flights
dawgnetwork@jabber.ccc.de        Nobody             2010-03-07 07:11:49 k
dawgnetwork@jabber.ccc.de        Nobody             2010-03-07 07:14:56 i have a quick question?
pressassoclation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-07 07:15:36 sure...lots of time pressure atm though so answer will
                                                                          be brief
dawgnetwork@jabber.ccc.de        Nobody             2010-03-07 07:16:00 how valuable are JTF GTMO detention memos
                                                                          containing summaries, background info, capture info,
                                                                          etc?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-07 07:16:18 time period?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-07 07:16:25 2002-2008
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-07 07:17:35 quite valuable to the lawyers of these guys who are
                                                                        trying to get them out, where those memos suggest
                                                                        their innocence/bad proceedure
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-07 07:18:12 also valuable to merge into the general history,
                                                                        politically gitmo is mostly over though
dawgnetwork@jabber.ccc.de        Nobody             2010-03-07 07:18:20 yeah
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-07 07:18:28 although transfers to afghanistan might rise it again
dawgnetwork@jabber.ccc.de        Nobody             2010-03-07 07:18:38 &gt%oPNG
dawgnetwork@jabber.ccc.de        Nobody             2010-03-07 07:18:43 illget back to that later
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-07 07:19:29 depends on definition of valuable of course..
                                                                          there&apos;s been a fair bit of inflation the last few
                                                                          months:)
dawgnetwork@jabber.ccc.de        Nobody             2010-03-07 07:19:39 i noticed
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-07 07:19:51 BTW
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-07 07:20:12 WE won the referendum -        only 1.4% voted against.
dawgnetwork@jabber.ccc.de        Nobody             2010-03-07 07:20:17 i saw
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-07 07:20:25 How cool is that?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-07 07:20:54 First referendum in Icelandic history, ever.
dawgnetwork@jabber.ccc.de        Nobody             2010-03-07 07:20:56 not sure how much influence you actually had...
                                                                          though im sure you had an impact of some kind
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-07 07:21:13 by &apos:we&apos: 1mean everyone working
                                                                          towards it
dawgnetwork@jabber.ccc.de        Nobody             2010-03-07 07:21:20 ah, been there before
dawgnetwork@jabber.ccc.de        Nobody             2010-03-07 07:21:28 im wary of referenda
dawgnetwork@jabber.ccc.de        Nobody             2010-03-07 07:21:51 democracy sounds good... until you realize
                                                                          you&apos:re a vulnerable minority...
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-07 07:21:57 but quite possibly swung It., there was lots of stuff
                                                                          going on behind the scenes here.
dawgnetwork@jabber.ccc.de        Nobody             2010-03-07 07:22:09 case in point: proposition 8 in California
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-07 07:22:21 Yes. This is democracy in the negative though, which
                                                                          is usually great.
dawgnetwork@jabber.ccc.de        Nobody             2010-03-07 07:22:34 indeed it is
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-07 07:22:51 i.e vetoing bills [go back and do it again!]
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-07 07:23:32 call is bad, 1agree, anyone with some $ has a syringe
                                                                          right into the heart of the state constitution
dawgnetwork@jabber.ccc.de        Nobody             2010-03-07 07:23:40 &gt;nod&lt:
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-07 07:23:52 bbk
dawgnetwork@jabber.ccc.de        Nobody             2010-03-07 07:23:58 gotta run too
dawgnetwork@jabber.ccc.de        Nobody             2010-03-07 07:23:59 ttyl
dawgnetwork@iabber.ccc.de        Nobody             2010-03-07 10:53:48 so when is the site coming back?
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Sender Account                   Sender Alias      Date-Time              Message Text
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 05:46:56 hello
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 05:48:43 heya!
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 05:48:50 how goes?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 05:49:22 not bad
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 05:52:19 vid has been enhanced and rendered now. subtitles
                                                                          done for engiish
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 05:52:30 nice
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 05:52:47 it looks good, the stills are very moving
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 05:53:03 the stills taken from the wide angle?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 05:53:31   dropped camera
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 05:53:42 no..
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 05:53:51 ah, the video stills then
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 05:53:52 from the video cam
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 05:54:14 sounds good
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 05:55:54 still all over the place, here
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 05:56:10 After the contrast enhancement, something about the
                                                                          lack of resolution / smoke gives a film-noir quality

pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 05:56:16 yeah, i&apos:ve heard.
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 05:56:25 heard?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 05:56:29 outcome yet?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 05:56:43 busy few weeks
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 05:57:02 no... wont be for weeks... it was very quiet
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 05:57:09 expected a lot more
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 05:58:05 people can get worked up internally...
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 05:58:59 somethings are encouraged to be said, others not,
                                                                          and after they flow around long enough, there&apos;s
                                                                          a lack of grounding.
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:04:09 lalala
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:04:54 jesus
                                 Nobody             2010-03-08 06:05:05 mm?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:05:22 looks like we have the last 4 mothers of all audio to all
                                                                          phones in the .is parliament
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:05:29 s/mothers/months
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:05:46 interesting
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:06:09 *had nothing to do with this one*
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:08:49 im sending one last archive of intersting stuff... should
                                                                          be in the x folder at some point in the next 24 hours

pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:10:08 ok. great!
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:10:09 74b3*.tar.b22
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:10:50 you&apos;ll need to figure out what to do with it all...


pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:11:03 a lot of odd things are happening lately
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:11:08 such as?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:11:48 it&apos;s hard to describe without going through them
                                                                          ail
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:11:53 but there&aposis something in the air.
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:12:07 in Iceland, or globally
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:12:40 this is what l&apos:m trying to detenmine. people in
                                                                          germany say the same thing
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:12:49 and there&apos;s some evidence of that
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:13:13 such as... (i hate to inquire too much, but im benign)


pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:13:36 it may be more readily visible in .is due to less inertia
                                                                          [small economy]
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:14:09 definitely feel something odd here...
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:14:38 some recent things... in denmark the main newspaper
                                                                          printed an entire book in afghanistan that was about
                                                                          to be injuncted suddenly in its Sunday paper

pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:14:50 to subvert the injunction
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:14:55 [about afghanistan, not in]
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:15:04 injunction came from dep of defence
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:15:25 fox news editorialized to say, give money to WL
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:15:42 .nl government just fell over afghanistan
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Sender Account                   Sender Alias      Date-Time               Message Text
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:15:49 indeed
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:16:00 german constitutional court just struck down data
                                                                           retention
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:16:07 yep
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:16:34 wi actions tliat were considered totally radical 3 years
                                                                           ago are now courted.
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:17:06 1told you before, government/organizations cant
                                                                        control information... the harder they try, the more
                                                                        violently the information wants to get out
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:17:22 2500 articles in .is referendum in the past 15 hours,
                                                                        despite it being a Sunday
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:17:34 you&apos;re like the first pin to pop a balloon
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:17:52 many other things like this
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:18:13 restrict supply = value increases, yes
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:18:21 oh yeah... osc went haywire digging into .is
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:18:37 us dod has another tact though, dump billions in free
                                                                        &quot:news&quot: content
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:18:44 yeah?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:18:56 that&apos:s something we want to mine entirely, btw


pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:19:10 1had an account there, but changed ips too quickly
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:19:16 usually its pretty dull reading, one or two things on .is
                                                                           a day... but its like 20-25 for today alone
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:19:40 just FBIS or analysis included?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:19:54 no analysis, too early...
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:20:03 24-48 hours it takes for analysis if done
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:22:01 anyway, im throwing everything i got on JTF GTMO at
                                                                           you now... should take awhile to get up tho
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:23:22 summary / history / health conditions / reasons for
                                                                        retaining or transfer of nearly every detainee (about
                                                                        95%)
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:24:01 ok, great!
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:24:15 what period does it cover for each internment?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:24:48 2002-2009...
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:25:21 so initial medical evaluation to exit evaluation?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:25:37 no, just summaries...
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:25:52 but summaries of that?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:26:26 i.e from entry to exit?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:26:31 not quite
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:26:33 gaps
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:26:50 where do the gaps come from?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:26:58 Memos such asSUBJECT: Recommendation to
                                                                           Retain under DoD Control (DoD) for Guantanamo
                                                                           Detainee.<br />ISN; US9AS-000002DP
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:27:51 i have a csv that organizes the info as much as
                                                                           possible
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:27:55 1 hate these gitmo guys
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:28:29 OFAFBU sums up the sort of people they ended up
                                                                           with
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:28:48 [one flight away from being ugly] aka &quot:gitmo
                                                                           cute&quot;
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:28:56 haha
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:30:57 anyway, gotta run, have a nice day
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:31:14 you too. and take care!
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:31:42 after this upload, thats all i really have got left
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:32:15 curious eyes never run dry in my experience
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:32:18 i sat on it for a bit, and figured, eh. why not
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:32:52 ive already exposed quite a bit, just no-one knows yet


dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:33:34 illslip into darkness for a few years, let the heat die
                                                                           down
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:34:05 won&apos;t take a few years at the present rate of
                                                                           change
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:34:08 true
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:34:19 almost feels like the singularity is coming
                                                                           there&apos;s such acceleration
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Sender Account                   Sender Alias      Date-Time              Message Text
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:34:52 yes... and considering just how much one source has
                                                                          given you, i can only imagine the overlad
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:35:05 yes
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:35:15 *load
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 06:35:30 cya
pressassociatlon@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:35:34 1just hope we can do justice to it all.
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:35:57 We have the numbers, just need to figure out how to
                                                                          scale the management.
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 06:36:04 night!
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 11:13:06 hi
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 11:44:16 hoi
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 11:44:27 short sleep?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 12:19:56 wasnt asleep... going to sleep soon
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 12:20:21 upload is at about 36%
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 12:21:39 ETA?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 12:22:05 11-12 hours... guessing since its been going for 6
                                                                          already
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 12:22:33 how many mb?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 12:22:50 about 440mb
dawgnetwork@jabber.ccc.de        1Nobody            2010-03-08 12:24:46 a lot of scanned pdf&apos;s
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 14:38:00 what are you at donation-wise?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 15:55:28 any good at Im hash cracking?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 16:00:29 yes
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 16:00:44 donations: not sure.
pressassoci3tion@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 16:00:55 something in order of .5M
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 16:01:30 but we lost our CC processor, so this is making
                                                                          matters somewhat painful.
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 16:02:23 we have rainbow tables for Im
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 16:04:14 80XXXXXXXXXXXXXXXXXXXXXXXXXXXX1c
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 16:05:07 i think its Im + Imnt
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 16:05:38 anyway...
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 16:06:08 need sleep &gt;yawn&gt;
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 16:09:06 not even sure if thats the hash... i had to hexdump a
                                                                          SAM file, since i dont have the system file...
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 16:10:06 what makes you think it&apos:s Im?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 16:10:19 its from a SAM?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 16:10:24 yeah
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-08 16:11:26 passed it onto our Im guy
dawgnetwork@jabber.ccc.de        Nobody             2010-03-0816:11:40 thx
dawgnetwork@jabber.ccc.de        Nobody             2010-03-08 21:31:59 got about an hour to go on that upload
dawgnetwork@jabber.ccc.de        Nobody    .        2010-03-10 03:44:06 hi
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 03:45:05 did you get what i sent?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 03:45:11 via sftp
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 03:46:04 heyal
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 03:46:24 MD5 (74b3*.tar.bz2) = c36e31ab*
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 03:47:39 will check
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 03:47:47 sweet
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 03:47:54 somewhat distracted with all sorts of intrigues
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 03:48:01 heh, im sure
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 03:48:13 imma get intrigued with my hot chocolate =)
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 03:48:24 we now have the last 4 months of audio from
                                                                          telephones at the .Is parliament
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 03:48:29 bbl
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 03:48:35 yes, you said earlier
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 03:48:51 it was a *might* before
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 03:48:55 somebody&apos;s bad... =)
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 03:49:11 ttyl
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 03:49:16 yup. nixon tapes got nothing on us
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 04:25:37 hmm
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 04:25:42 there&apos;s a username in the gitmo docs
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 04:25:58 i assume i should filter it out?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 05:40:47 theres a username?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 05:42:16 any usernames should probably be filtered, period
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 05:42:38 but at the same time, theres a gazillion of them
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 05:45:56 is this ordered by country?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 05:46:00 yes
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Sender Account                   Sender Alias      Date-Time              Message Text
dawgnetwork@jabber.ccG.de        Nobody             2010-03-10 05:46:48 ... gaziliion pdf&apos;s that is</span>
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 05:47:15 anything useful in there?
pressassociation@]abber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 05:50:54 no time, but have someone on It
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 05:51:00 there surely will be
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 05:51:12 and these sorts of things are always motivating to
                                                                          other sources too
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 05:51:22 &gt;nod&lt;
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 05:51:33 inflation
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 05:51:34 =P
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 05:51:43 from an economic standpoint
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 05:52:08 heh
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 05:52:29 1was thinking more inspiration
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 05:52:38 i know =)
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 05:53:08 gitmo=bad,leakers=enemy of gitmo,leakers=good
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 05:54:03 Hence the feeling is people can give us stuff for
                                                                          anything not as &quot;dangerous as gitmo&quot; on
                                                                          the one hand, and on the other, for people who know
                                                                          more, there&apos:s a desire to eclipse....
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 05:54:41 true
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 05:55:05 ive crossed a lot of those &quot;danger&quot; zones,
                                                                          so im comfortable
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 05:55:25 learned a lot from the Iceland cable on my side
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 05:55:32 oh?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 05:55:55 and that is... everyone is too busy to investigate too
                                                                          deeply...
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 05:56:02 or clean up the mess
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 05:56:03 yes
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 05:56:13 unless they think there&aposjs a real promotion in it


dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 05:56:19 indeed
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 05:56:35 after a few days, no one gives a damn, generally
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 05:56:41 yep
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 05:56:46 especially now with the pace of change so high
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 05:56:51 oh yeah
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 05:56:58 its nuts
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 05:57:28 ive given up on trying to imagine whats next
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 05:57:53 i predict its nothing i can predict
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 05:58:21 actually...
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 05:58:29 gave an intel source here a list of things we wanted
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 05:58:39 1-5
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 05:59:06 1 was &quot;something we have no idea of yet. hard
                                                                          to find, but the most likely to be important&quot;

pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 05:59:30 and they came back with the last 4 months of
                                                                          parliament
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 05:59:47 xD
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 05:59:49 hilarious
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 06:00:40 thats a wtf... who did this kind of moment
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 06:00:54 fall-out =P
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 06:00:55 So, that&apos;s what 1think the future is like;)
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 06:01:15 yes
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 06:01:57 now that humans are getting more and more
                                                                        integrated into this information society... a level of
                                                                        transparency never imagined or even truly desired is
                                                                        coming into play
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 06:02:18 it makes us more human if anything
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 06:03:13 we&apos;ve created states, governments, religious
                                                                        institutions, corporations... all these organizations to
                                                                          hide behind...
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 06:03:26 but at the end of the day, we&apos:re just guys and
                                                                          girls
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Sender Account                   Sender Alias      Date-Time              Message Text
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 06:04:02 WikiLeaks is looking for donations, but what itsi»i,
                                                                          founders should do, is call upon script writers to make
                                                                          a, perhaps reality based, dramatized, thriller movie of
                                                                          one of the wikileaks cases, with corruption, infiltration,
                                                                          espionage, hitmen, sabotage, etc. and call the movie
                                                                          &quot:WikiLeaksl&quot:</span><br /><br /><span
                                                                          style=font-family: Helvetica; font-size: 12pt:">l see
                                                                          great potential for such a movie, and massive money
                                                                          and advertising it would generate would establish
                                                                          them firmly. l&apos:d then support by seeing the
                                                                          movie. Hollywood would likely support."

pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 06:04:04 haha
pressassoclation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 06:04:35 yes. its very healthy
pressassoclation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 06:04:47 but then, there is farmville...
dawgnetworl<@Jabber.ccc.de       Nobody             2010-03-10 06:04:59 the masquerade ball
dawgnetworl(@Jabber.ccc.de       Nobody             2010-03-10 06:05:22 this is gonna be one hell of a decade
dawgnetworlc@jabber.ccc.de       Nobody             2010-03-10 06:05:45 it feels like 2010 should be ending soon...
dawgnetworl<@jabber.ccc.de       Nobody             2010-03-10 06:05:50 but we just got started
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 06:05:51 sense deceptions to suck $ out of people
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 06:06:06 it&apos;s as old as lipstick and the guitar of course,
                                                                          but mmorpg are evil in a whole new way
dawgnetworl<@jabber.ccc.de       Nobody             2010-03-10 06:06:39 voluntary matrix-style society?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 06:06:46 yes
dawgnetwor[<@jabber.ccc.de       Nobody             2010-03-10 06:07:08 hmm
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 06:07:25 might be ok in the end
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 06:07:53 mmorpg&apos;s that have long term users are
                                                                          incentivised to keep them profitable
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 06:08:59 but 1imagine they&apos:ll merge into hybrid revenue
                                                                        modes, where congnitive tasks and freelabor are
                                                                        done using sense deception incentives
dawgnetworl<@jabber.ccc.de       Nobody             2010-03-10 06:09:48 like the &quot:video games&quot; from toys?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 06:10:12 haven&aposit seen that
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 06:10:34 but it sure isn&apos;t a decade to be a gullible idiot:)


dawgnetworl<@jabber.ccc.de       Nobody             2010-03-10 06:11:24 basic gist: retired general takes over a toy company,
                                                                        invests in video games for kids to &quot;play&quot:,
                                                                        but they&apos;re actually training to remotely use
                                                                        little toy sized weapons
dawgnetworl<@jabber.ccc.de       Nobody             2010-03-10 06:11:40 former toy owner tries to stop him
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 06:11:52 •company
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 06:12:11 heh. that&apos;s the example 1was going to use for
                                                                        mmorpg (with drones) but decided it was too
                                                                        grotesque
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 06:12:47 its not... its logical in frightening ways
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 06:13:04 i think like that... i dont know how it happened, but i
                                                                        think that way
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 06:13:32 i predict war will turn into a continuous spectrum of
                                                                        spying and violence
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 06:13:32 &quot:how can i take advantage of two things that
                                                                        most people wouldn&apos;t think are
                                                                        connected&quot;
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 06:15:50 with companies doing a lot of the lower end
                                                                        {spying/violence} for their own reasons and a totally
                                                                        seemless crossover (as is happening with the us)
                                                                        between contractors/military to the degree that its not
                                                                        clear who is tasking who
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 06:16:12 wow, dead on
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 06:16:57 everywhere, greater degrees of freedom, more fluidity
                                                                        and mixing.
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 06:17:23 always an interesting discussion =)
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 06:17:26 ttyl
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 06:17:31 night!
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 20:58:03 hello
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 20:59:41 heya!
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 20:59:52 whats new?
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Sender Account                   Sender Alias      Date-Time              Message Text
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:00:22 350Gb of audio intercepts. But you knew already.
dawgnetworl<@jabber.ccc.de       Nobody             2010-03-10 21:00:30 mhmm
dawgnetworl<@jabber.ccc.de       Nobody             2010-03-10 21:00:57 is that the only thing?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:01:22 lots of smaller scale material
dawgnetworl<@jabber.ccc.de       Nobody             2010-03-10 21:01:28 &gt:nod&lt:
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:01:44 e.g bbc legal defense against trafigura which was
                                                                          censored
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:02:15 aljazeera doing another segment on WL
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:02:35 Canadian detainee docs
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 21:02:43 Canadian?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:03:00 some russian and Chinese stuff that 1can&apos;t read


dawgnetworl<@jabber.ccc.de       Nobody             2010-03-10 21:03:08 hahaha
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:03:09 heh
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:03:17 and a list of ALL the tea party volunteers
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:03:42 from glen beck&apos;s email
dawgnetworl<@jabber.ccc.de       Nobody             2010-03-10 21:03:48 jesus fucking Christ
dawgnetworl<@jabber.ccc.de       Nobody             2010-03-10 21:04:13 whats the big deal with that? because some people
                                                                          take that seriously
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:04:26 an analysis of the greenhouse gas output of
                                                                          Australia&apos:s &quot:earth hour&quot; fireworks
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:04:32 (46 tonnes)
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:04:57 The teaparty thing? lt&apos;s weird, but it should be
                                                                          taken seriously
dawgnetworl<@jabber.ccc.de       Nobody             2010-03-10 21:05:21 yeah, its one of those... grey areas between reality
                                                                          and entertainment and ick
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:05:33 lt&apos;s the right wing overclass (fox) organization
                                                                          of the righwing underclass. Think of them as brown
                                                                          shirts.
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 21:05:39 *stays in reality*
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 21:06:23 well, i dont know what posting a list from glenn
                                                                          beck&apos:s email will do... but hey, its transparency

pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:06:37 They&apos;re important because their organized free
                                                                          labor.
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:06:54 And they may or may not break free of their masters.


dawgnetwork@jabber.ccc.de        Nobody             2010^03-10 21:07:04 ah
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 21:07:50 is it like the entire world is uploading to you?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:08:24 some hungarian finance things
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:08:31 Scientology in haiti...
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:08:52 lots of german stuff i don&apos:t understand, but we
                                                                          have people who do
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 21:08:58 &gt;nod&lt;
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 21:09:08 wow...
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 21:09:15 im gonna leave you to work than
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 21:09:50 get back up and online... get immi passed... and start
                                                                          publishing whatever you can... =)
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:10:08 heh
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:10:16 aljazeera will also have a new WL doco
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:10:31   by the same producer who did IMMI piece
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:11:36 agreement between the royal mail and its union
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:11:49 oh, this one is nice
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:11:55 entire romanian police database
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:12:31   israeli&apos;s OECD application docs
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 21:15:45 its like you&apos;re the first &quot;lntelligence
                                                                          Agency&quot; for the general public
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 21:16:39 downside is you get so much stuff in a single day that
                                                                          its hard to prioritize
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:16:54 yes
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:17:05 that&apos;s just a matter of growth, though
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:17:39 did you read our bulgarian shadow state doc?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 21:17:45 well, fuck you do everything an intel agency does...
                                                                          minus the anonymous sourcing
dawqnetwork@jabber.ccc.de        Nobody             2010-03-10 21:17:58 not really
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Sender Account                   Sender Alias      Date-Time              Message Text
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:18:15 Thie original WL about reads: &quot:...will be tlie first
                                                                          intelligence agency of ttie people...&quot:
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 21:18:43 migiit iiave missed that, but its absolutely true
dawgnetwork@jabber.ccc.de        Nobody             2010-03-10 21:19:31 anyway, gotta run... ttyl
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:19:47    Wikileaks described itself as &quot;the first
                                                                          intelligence agency of the people. Better principled
                                                                          and less parochial than any governmental intelligence
                                                                          agency, it is able to be more accurate and relevant. It
                                                                          has no commercial or national interests at heart; its
                                                                          only interest is the revelation of the truth. Unlike the
                                                                          covert activities of state intelligence agencies,
                                                                          Wikileaks relies upon the power of overt fact to
                                                                          enable and empower citizens to bring feared and
                                                                          corrupt governments, and corporations to
                                                                          justice.&quot;
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 21:20:14 ok. later!
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 23:30:54 any more hints about this Im hash?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-10 23:31:03 no luck so far
dawgnetwork@jabber.ccc.de        Nobody             2010-03-16 18:23:35 iii
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-16 18:32:42 iioi
dawgnetwork@jabber.ccc.de        Nobody             2010-03-16 22:29:42 whats up?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-16 22:34:13 just about to go out
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-16 22:34:14 all systems nominal
dawgnetwork@jabber.ccc.de        Nobody             2010-03-16 22:34:24      good to know
dawgnetwork@jabber.ccc.de        Nobody             2010-03-16 22:34:36 ttyl
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-16 22:35:52 :)
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-16 22:35:52 take care
dawgnetwork@jabber.ccc.de        Nobody             2010-03-16 22:36:04 will do... donations coming in good?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-16 22:37:09 not sure
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-16 22:37:21 experience in the past is that they don&apos;t tend to
                                                                          in response to stories like this
dawgnetwork@jabber.ccc.de        Nobody             2010-03-16 22:37:28 meh
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-16 22:37:32 makes people scared to donate
dawgnetwork@jabber.ccc.de        Nobody             2010-03-16 22:37:34 too bad
dawgnetwork@jabber.ccc.de        Nobody             2010-03-16 22:37:52 i would&apos;ve
dawgnetwork@jabber.ccc.de        Nobody             2010-03-16 22:37:59 if i saw that
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:32:26 what&apos:d your source say it was?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 22:39:49 it was very general
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 22:40:02 organization-wide
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:40:17 interesting
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:40:35 what was the approach and motivation?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:41:17 i wonder if this didn&apos;t stir up some internal
                                                                          dissent
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:41:42 must   be some people not too happy about cracking
                                                                          down on whistleblowers and following the Chinese...

dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 22:41:55 indeed
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 22:42:11 90% of the effort is on Chinese exfiltration of
                                                                          documents
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 22:42:22 it was a blog posting
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:43:01 well, that is a genuine problem
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:43:16 Israeli and russian exfiltration too
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:44:02 french as well
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 22:44:06 it warned about not visiting the blogs, because the
                                                                          document and its contents is still classified
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 22:44:17 gave a link the to the report through proper channels
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:44:31 although knowledge tends to be stabalizing
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:44:34 if you take a big picture perspective
dawgnetwork@ja bber.ccc.de       Nobody             2010-03-17 22:45:17 it almost pleaded people not to send anonymous
                                                                          documents, mentioning courage and personal trust...
                                                                          and told people to go through proper channels if they
                                                                          have an issues
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:45:24 open skies policy was stabalizing
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:45:44 so perhaps an open net policy is called for;)
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:46:23 that&apos;s reasonable, though doesn&apos;t work
                                                                          in practice...
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Sender Account                   Sender Alias      Date-Time               Message Text
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:46:27 what&apos;d they say about courage?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 22:46:38 i can send a copy
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:46:40 that it&apos:s contagious?;)?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 22:46:53 but its non-rel
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:47:00 yes
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:47:32 subsys is really good these days
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:48:09 please mark non-release, found on usb stick
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 22:48:55 k
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:49:00 outed another spy this afternoon
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 22:49:16 ??
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:49:27 local
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 22:49:34 gotchya
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:49:38 police, watching one of my hotels
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:49:50 insider also confirmed
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:49:58 we have access to the fleet tracking system ;)
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:50:41 just got hold of 800 pages of inten'ogations docs and
                                                                        another 40gb of .is privatization / banking stuff
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:50:51 this country is going to melt...
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:50:55 saw the film today
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:51:04 it&apos;s looking great
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 22:51:31 what film?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:51:50 projectb
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:51:58i the massacre
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 22:52:01 Igotchya
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 22:52:32 uploaded file
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 22:53:01 marked as requested
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:53:11 thanks
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 22:53:18 n/p
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:53:20 you&apos;re great
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:54:03 is there some way i can get a cryptophone to you?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 22:54:14 not at this time
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:54:40 actually...
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:54:47 probably best if you just order one?
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:54:57 or rather some friend
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:55:14 bit pricy though
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:55:26 hmm
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:55:29 actually never mind
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 22:55:38 yes, i dont have access at present
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:56:35 these things are good for urgent contact, but
                                                                        it&apos;s safer to avoid due to location tracking
                                                                        possibilities
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 22:56:47 i know that very well
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:56:56 although there is a satphone module
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 22:57:21 forget the idea for now
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:57:45 yes. you just contact us
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:57:52 but don&apos;t disappear without saying why for an
                                                                           extended period or l&apos;ll get worried ;)
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 22:58:03 i wont
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 22:58:16 you&apos;ll know if something&apos;s wrong
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:58:39 ok
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:58:57 you can just tell me &quot;all the ships came in&quot;


pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:59:09 via email or any other mechanism
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 22:59:15 &gt;nod&lt;
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 22:59:44 will be doing an investigative journo conf in norway
                                                                           this week end, so may be out of contact most of the
                                                                           time
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 22:59:55 its good
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 23:00:17 ok.
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 23:00:27 off to do some work.
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 23:00:43 k, but def read the reflection i sent
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 23:00:53 iwill
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 23:01:01    now

dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 23:01:03 toodles
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 23:12:56 heh
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 23:13:15 i like it. free advertising to just the right market
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Sender Account                   Sender Alias      Date-Time               Message Text
dawgnetwork@jabber.ccc.cle       Nobody             2010-03-17 23:23:14 &gt;nod&lt;
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 23:23:30 the tone is what interests me the most
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 23:23:45 yes
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 23:23:47 its not really a threat, its a plead
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 23:23:55 slight desperation
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 23:24:00 yes
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 23:24:08 interesting approach
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 23:24:21 low, no-one knows what to do
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 23:24:40 threats work better with most, but perhaps they see
                                                                          that our sources are resistant to them anyway...
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 23:24:54 so pleading is the only thing left
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 23:25:34 im sure it was brought on by discussions that showed
                                                                          slight sympathy
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 23:27:28 yes
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 23:27:46 i think your intuition is correct
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 23:28:32 &quot;if we can&apos:t scare them, lets ask
                                                                          nicely&quot;
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 23:33:39 the hackers that these governments hire, the good
                                                                          ones... they&apos;re the cats that can only be herded
                                                                          by food... but when the cat food runs out, or they get
                                                                          treated rough... they&apos;d be the first to dissent

dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 23:34:21 food meaning money, of course... and treatment
                                                                          being, well, treatment
dawgnetwork@jabber.ccc.de        Nobody             2010-03-17 23:34:42 weird analogy, i know... lol
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 23:38:21 yes
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 23:38:34 that&apos;s possible
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-17 23:39:09 and there are social vales that arise out of the internet
                                                                          that have evolved beyond those inside the isolated
                                                                          military-contractor complex
dawgnetwork@jabber.ccc.de        Nobody             2010-03-18 00:04:31   its like a classroom run by an overbearing teacher...
                                                                          when a kid strikes back anonymously by sabotaging
                                                                          the desk... the other kids get a little excited and
                                                                          rowdy, because they wanted too, but were afraid of
                                                                          getting caught... the teacher is embarassed and cant
                                                                          control the kids, so the teacher just makes an
                                                                          announcement that the students should continue
                                                                          working quiety after they have a look at the mess on
                                                                          the desk that the teacher is cleaning up

dawgnetwork@jabber.ccc.de        Nobody             2010-03-18 00:05:11   i think thats a better analogy
dawgnetwork@jabber.ccc.de        Nobody             2010-03-18 00:37:17 <div><a
                                                                          href=http://freedomincluded.com/index"><span
                                                                          style="background-color: #ffffff: font-family: Helvetica:
                                                                          font-size:
                                                                          12pt:">http://freedomincluded.com/index</span></a>
                                                                          <span style-"background-color: #ffffff: font-family:
                                                                          Helvetica; font-size: 12pt:"> Sit;- recommend: free (as
                                                                          in freedom) hardware vendor"
dawgnetwork@jabber.ccc.de        Nobody             2010-03-18 08:39:52 wtf is wrong with LTC Packnett xD
dawgnetwork@jabber.ccc.de        Nobody             2010-03-18 08:40:59 you don&apos;t confirm, or even come off as possibly
                                                                          confirming shit...
dawgnetwork@jabber.ccc.de        Nobody             2010-03-18 08:41:22 lol, slipped up in your favor, i guess
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-18 08:41:31 eh?
dawgnetwork@jabber.ccc.de        Nobody             2010-03-18 08:42:06 NYTarticle has LTC Packnett allegedly confirming
                                                                          the authenticity of the 2008 report posted on 15th
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-18 08:42:17 yes
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-18 08:42:19 hilarious
dawgnetwork@jabber.ccc.de        Nobody             2010-03-18 08:42:57 i dont think he&apos;s going to continue to be the Ml
                                                                          spokesperson
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-18 08:43:04 they do break these rules though when being
                                                                          hammered
dawgnetwork@jabber.ccc.de        Nobody             2010-03-18 08:43:15 im sure
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-18 08:43:41   refusing to confirm does make them look shadowy
                                                                          and untrustworthy
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                                 Sender Alias      Date-Time              Message Text
dawgnetwork@jabber.ccc.de        Nobody             2010-03-18 08:43:45    just didnt realize how little ittakes forthem to cave.
dawgnetwork@jabber.ccc.de        Nobody             2010-03-18 08:43:55 true, but... im shocked
pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-18 08:44:12 yeah., but remember., rules arejust for thegrunts :P

pressassociation@jabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-18 08:44:32 like no spying on citizens at the nsa
dawgnetwork@jabber.ccc.de        Nobody             2010-03-18 08:44:43 which is common
dawgnetwork@jabber.ccc.de        Nobody             2010-03-18 08:45:57 &quot:oh fuck, this might bea US citizen.7
                                                                        shouldn&aposjt wegetthis checked by the
                                                                        FBI...&quot: &quot:Fuck that. FBI isslow as fuck,
                                                                        we&aposjII justkeep listening in, capture him, and
                                                                          then turn him over&quot;
pressassociation@iabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-18 08:48 :27 i preferjen. also, too masculine looking
pressassociation@|abber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-18 08:48: 57 heh
3ressassociation@iabber.ccc.de   Nxxxxxxxx Fxxxx    2010-03-18 08:48:59 nevermine
